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                                  17                       UNITED STATES DISTRICT COURT
                                  18               FOR THE CENTRAL DISTRICT OF CALIFORNIA
                                  19   BRIAN WARNER, KENNETH                    Case No. 2:15-cv-02171-FMO-(FFMx)
                                       MAC LEOD; MICHAEL MEADE,
                                  20   MICHAEL WATSON, JAMES                    CLASS ACTION
                                       FULLER, and DALE FRANQUET,
                                  21   individually and on behalf of all        PLAINTIFFS’ OPPOSITION TO
                                       others similarly situated,               DEFENDANT TOYOTA MOTOR
                                  22                                            SALES, U.S.A, INC.’S MOTION TO
                                                    Plaintiffs,                 DISMISS
                                  23
                                             v.
                                  24                                            Date:       June 11, 2015
                                       TOYOTA MOTOR SALES, U.S.A.,              Time:       10:00 a.m.
                                  25   INC., a California corporation,
                                                                                USDJ:   Fernando M. Olguin
                                  26                Defendant.                  Ctrm:   22, 5th Floor – Spring
                                                                                JURY TRIAL DEMANDED
                                  27
                                                                                Complaint Filed: March 24, 2015
                                  28
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                                   1         Plaintiffs Brian Warner, Kenneth MacLeod, Michael Meade, Michael
                                   2   Watson, James Fuller, and Dale Franquet respectfully submit this memorandum
                                   3   in opposition to Defendant Toyota Motor Sales, U.S.A., Inc.’s (“Toyota”)
                                   4   Motion to Dismiss Plaintiffs’ Complaint (“Motion” or “Mot”).
                                   5   I.    INTRODUCTION
                                   6         The integrity of the frame of a motor vehicle is critical to the safe
                                   7   operation of that vehicle. A vehicle with weaken or compromised frame is flatly
                                   8   unsafe to drive. Plaintiffs and other consumers who purchased a model year
                                   9   2005-2009 Toyota Tacoma (“Tacoma Vehicles”) expected those vehicles to be
                                  10   reasonably protected from premature and excessive rust corrosion. Contrary to
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                                  11   this expectation, the Tacoma Vehicles’ frames lack adequate rust protection,
                                  12   which can result in premature rust corrosion that compromises the structural
                                  13   integrity, safety, stability, and crash-worthiness of the vehicles. Toyota has long
                                  14   been aware that Tacoma Vehicles do not have adequate rust corrosion protection.
                                  15   However, instead of informing consumers of this latent defect, Toyota concealed
                                  16   it, knowing that owners would not notice excessive rust corrosion on the
                                  17   undercarriage of their vehicles. It was not until 2014, that Toyota issued its
                                  18   deficient Limited Service Campaign offering repairs for only a fraction of the
                                  19   Tacoma Vehicles registered in limited states; a campaign that was not adequately
                                  20   publicized, does not reimburse for repairs previously paid for by the consumer,
                                  21   and does nothing to prevent excessive rust corrosion in the future. Even then,
                                  22   Toyota misled the public about the defect, saying the problem only occurred in
                                  23   cold weather states. Just last month, Toyota expanded the limited campaign to
                                  24   non-cold weather states, because the frames prematurely rust out in warm
                                  25   weather states as well, but continues to mislead by stating that there is only a
                                  26   problem if the vehicle previously was driven in a cold weather state.
                                  27         Based on these same facts, the United States District Court for the Western
                                  28   District of Arkansas recently denied Toyota’s motion to dismiss claims for
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                                   1    violations of the Arkansas Deceptive Trade Practices Act and for unjust
                                   2    enrichment and declaratory relief. See Burns v. Toyota Motors Sales, U.S.A.,
                                   3    Inc., No. 2:14-CV-02208 (W.D. Ark. Apr. 23, 2015).
                                   4          Here, Plaintiffs allege Toyota’s conduct violates California’s Consumers
                                   5    Legal Remedies Act (“CLRA”) and Unfair Competition Law (“UCL”), the
                                   6    Magnuson-Moss Warranty Act, breaches implied and express warranties, and
                                   7    entitles Plaintiffs to declaratory relief under 28 U.S.C. § 2201. Toyota’s Motion
                                   8    to Dismiss Plaintiffs’ claims fails on all points.
                                   9          Plaintiffs properly allege consumer protection claims under the CLRA and
                                  10    UCL against Toyota, a California citizen, because application of California law
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                                  11    is constitutional, and Toyota does not meet its burden of demonstrating an actual
                                  12    material conflict with California consumer protection laws and the laws of the
                                  13    states Toyota wishes to apply, or that the other states have a greater interest in the
                                  14    claims that would be impaired by application of California law.             Even so,
                                  15    Plaintiffs also sufficiently plead alternative state consumer protection claims.
                                  16          Further, Plaintiffs’ implied and express warranty claims are not time-
                                  17    barred, privity is not required for Plaintiffs’ implied warranty claims because
                                  18    Plaintiffs are third party beneficiaries of the implied warranty and Toyota knew
                                  19    that the Tacoma Vehicles contained a dangerous latent defect, Plaintiffs were not
                                  20    required to present their vehicles during the express warranty period, and
                                  21    Plaintiffs can rely on statements in the Owner’s Manual as the basis for their
                                  22    breach of express warranty claim.
                                  23          Plaintiffs also sufficiently plead claims under the Magnuson-Moss Act
                                  24    because they also state common law warranty claims and not all Plaintiffs are
                                  25    required to participate in an alternative dispute resolution process because as
                                  26    demonstrated by Plaintiffs’ experiences, such a process would be futile.
                                  27          Finally, Plaintiffs’ claims for declaratory relief under 22 U.S.C. § 2201 are
                                  28    not duplicative of their other claims.

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                                   1    II.   FACTS
                                   2          A.     The Defective Tacoma Vehicles
                                   3          Tacoma Vehicles’ frames lack adequate rust corrosion protection. ¶14.1
                                   4    This latent defect leads to severe rust corrosion in the vehicles’ frames
                                   5    compromising the vehicles’ safety, stability, and crash-worthiness. ¶16. Toyota
                                   6    has long known that the frames on its Tacoma Vehicles were defective. ¶19.
                                   7    Despite this knowledge, Toyota failed to disclose the existence of the defect to
                                   8    Plaintiffs when they purchased their vehicles, has not issued a recall to inspect
                                   9    and repair Tacoma Vehicles, and has not offered to reimburse Tacoma Vehicle
                                  10    owners for costs incurred to identify and repair such defects.
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                                  11          Rust corrosion has a significant negative effect on the structural integrity
                                  12    of metal items, such as Tacoma Vehicles’ frames, weakening the frames by
                                  13    replacing strong iron or steal with flaky powder. ¶15. Excessive rust corrosion
                                  14    on Tacoma Vehicles compromises the safety, stability, and crash worthiness of
                                  15    such vehicles, because important suspension components, engine mounts,
                                  16    transmission mounts, and body mounts anchor to the frames of the vehicles. ¶16.
                                  17    Tacoma Vehicles with frames exhibiting severe rust corrosion are unstable and
                                  18    unsafe to drive.    ¶14.     Absent time consuming and expensive repair and
                                  19    replacement, the Tacoma Vehicles that experience excessive rust corrosion are
                                  20    essentially worthless. ¶2.
                                  21          Toyota has long known that the frames on Tacoma Vehicles lack adequate
                                  22    rust corrosion protection.    ¶19.   In March 2008, in response to numerous
                                  23    complaints, Toyota extended warranty coverage on approximately 813,000
                                  24    model years 1995 through 2000 Tacoma vehicles to 15 years with no mileage
                                  25    restrictions. ¶20. Under that program, Toyota, at its option, would repair or
                                  26    repurchase vehicles with perforated frames stemming from severe rust corrosion.
                                  27    Id. At the time, Toyota acknowledged that the rust corrosion was “unrelated to
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                                              All “¶” cites are to the Class Action Complaint (“CAC”), Dkt. 1.
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                                   1    and separate from surface rust which is commonly found on metallic surfaces
                                   2    after some years of usage.”      ¶21.     Toyota sought to limit the costs of the
                                   3    campaign by conducting vehicle inspections only when the customer had noticed
                                   4    the rust, knowing that many owners would not notice excessive rust corrosion in
                                   5    the undercarriage of the vehicle. ¶22. Toyota later expanded the program to
                                   6    include model years 2001 through 2004 Tacoma vehicles, with the exception that
                                   7    there is no buy-back option for such vehicles. ¶23.
                                   8          B.     Toyota’s Deficient Limited Service Campaigns
                                   9          In June 2014, Toyota initiated a “Limited Service Campaign” (“LSC”) to
                                  10    address rusted frames on certain model year 2005–2008 Tacoma Vehicles. ¶28.
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                                  11    The campaign was not widely publicized and is limited to certain 2005–2008
                                  12    Tacoma vehicles registered in “salt-belt-states.”2 Id. Under the LSC, customers
                                  13    must bring their Tacoma Vehicles in to a Toyota dealer for an inspection. If the
                                  14    Toyota dealer does not find “significant rust perforation” on the frame, the dealer
                                  15    will apply rust corrosion-resistant compounds to the frames. Dkt. 17-2, Exhibit
                                  16    1.   If “significant rust perforation” is found on the frame pursuant to the
                                  17    inspection, Toyota “will provide an appropriate remedy” at no charge. Id. No
                                  18    criteria are provided for how a Toyota dealer determines whether “significant
                                  19    rust perforation” exists or what the “appropriate remedy” is. In order to obtain
                                  20    any relief under the LSC, consumers must bring their Tacoma Vehicles in for
                                  21    inspection by March 31, 2016.           Id.   That means if the “significant rust
                                  22    perforation” happens any time after that date, Toyota will not repair it.
                                  23          Last month, after the filing of the CAC, Toyota expanded its LSC for
                                  24    certain model year 2005-2008 Tacoma Vehicles in all states, including warm
                                  25    weather states. Dkt. 17-2, Exhibit 2. However, as it was in 2014, the LSC
                                  26
                                  27    2
                                              The campaign applies only to certain Tacoma vehicles registered in the
                                        following states: Connecticut, Delaware, Illinois, Indiana, Massachusetts,
                                  28    Maryland, Maine, Michigan, Minnesota, New Hampshire, New Jersey, Ohio,
                                        Pennsylvania, Rhode Island, Virginia, Vermont, Wisconsin, and West Virginia.
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                                   1    remains deficient and Toyota continues to mislead consumers about the defect.
                                   2    The recent notices instruct only those persons who “believe [his/her] vehicle has
                                   3    been operated in cold climate regions of the United States where high road salt is
                                   4    frequently used” to go to a Toyota dealer for inspection. Id. This misleads
                                   5    consumers into believing that if their Tacoma Vehicle suffers from “significant
                                   6    rust corrosion” but was not driven in a “cold climate region[]” then the vehicle is
                                   7    not defective and Toyota will not repair it.
                                   8           Additionally, the 2015 LSC appear to only apply to vehicles currently
                                   9    exhibiting excessive rust corrosion as the 2015 LSC notice states that “remedy
                                  10    cost for perforation of the vehicle’s frame caused by rust corrosion” will be
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                                  11    provided. Id. It is unclear how Toyota determines this. Additionally, Toyota
                                  12    will not apply rust corrosion-resistant compounds to the frames of vehicles that
                                  13    are not suffering from excessive rust corrosion and will not make any repairs to if
                                  14    the rust corrosion occurs after March 31, 2016.         Moreover, even for those
                                  15    vehicles that receive a replaced frame, the repairs are so extensive that the
                                  16    vehicles often become salvage titles, greatly reducing their value.
                                  17    III.   STANDARDS ON A MOTION TO DISMISS
                                  18           The Federal Rules of Civil Procedure require that a complaint include “a
                                  19    short and plain statement of the claim showing that the pleader is entitled to
                                  20    relief.” Fed. R. Civ. P. 8(a)(2). Detailed factual allegations are not required.
                                  21    Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).3
                                  22           To survive a motion to dismiss filed under Fed. R. Civ. P. 12(b)(6), “a
                                  23    complaint must contain sufficient factual matter, accepted as true, to ‘state a
                                  24    claim to relief that is plausible on its face.’” Iqbal, 556 U.S. at 678 (quoting Bell
                                  25    Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).             “A claim has facial
                                  26    plausibility when the plaintiff pleads factual content that allows the court to draw
                                  27    the reasonable inference that the defendant is liable for the misconduct alleged.”
                                  28
                                        3
                                               Internal quotations and citations omitted unless otherwise specified.
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                                   1    Iqbal, 556 U.S. at 678.      When reviewing a motion to dismiss, all factual
                                   2    allegations are taken as true and construed in the light most favorable to the non-
                                   3    moving party. See Iolab Corp. v. Seaboard Sur. Co., 15 F.3d 1500, 1504 (9th
                                   4    Cir. 1994).
                                   5    IV.   TOYOTA’S MOTION SHOULD BE DENIED
                                   6          A.      Plaintiffs Sufficiently Allege Consumer Protection Claims
                                   7                  1.   Under the Correct Choice-of-Law Analysis, Plaintiffs’
                                   8                       UCL and CLRA Claims Stand

                                   9          Toyota argues that the CLRA and UCL cannot apply to non-California
                                  10    residents and instead the laws of the states in which Plaintiffs reside should
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                                  11    apply. Toyota’s analysis is deficient and wrong.
                                  12          As the proponent of another state’s laws, it is Toyota’s burden to
                                  13    demonstrate that under California’s choice-of-law governmental interest test,
                                  14    application of the other state’s laws is appropriate. See Washington Mut., 24 Cal.
                                  15    4th at 919; Bruno v. Eckhart Corp., 280 F.R.D. 540, 545-46 (C.D. Cal. 2012).
                                  16    This is a fact intensive analysis that must be supported by evidence. Parkinson
                                  17    v. Hyundai Motor Am., 258 F.R.D. 580, 598 (C.D. Cal. 2008); Badella v. Deniro
                                  18    Mktg. LLC, No. C 10-03908, 2011 U.S. Dist. LEXIS 128145, at *33 (N.D. Cal.
                                  19    Nov. 4, 2011). Toyota fails to meet its burden.4
                                  20          Application of California law to non-residents is constitutional so long as
                                  21    California has “significant contact or significant aggregation of contacts” to the
                                  22
                                        4
                                               Toyota has the evidence in its possession but fails to meet its burden.
                                  23    Because the analysis is fact intensive, when it is a plaintiff’s burden of
                                        demonstrating another state’s law applies, courts routinely find that doing such
                                  24    an analysis at the pleading stage is inappropriate. See Czuchaj v. Conair Corp.,
                                        No. 13-CV-1901, 2014 U.S. Dist. LEXIS 54410, at *25 (S.D. Cal. Apr. 17, 2014)
                                  25    (finding choice-of-law analysis inappropriate at motion to dismiss stage).
                                        Instead, when its plaintiff’s burden, the “inquiry is most appropriate at the class
                                  26    certification stage of the case, after the parties have engaged in discovery.” Won
                                        Kyung Hwang v. Ohso Clean, Inc., No. C-12-06355, 2013 U.S. Dist. LEXIS
                                  27    54002, at *59 (N.D. Cal. Apr. 16, 2013). If necessary, the court can then
                                        determine whether a nationwide class or subclasses are appropriate. See
                                  28    Khorrami v. Lexmark Int’l, No. CV 07-01671, 2007 U.S. Dist. LEXIS 98807,
                                        *10-*11 (C.D. Cal. Sept. 13, 2007).
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                                   1    claims. Washington Mut. Bank v. Sup. Court, 24 Cal. 4th 906, 919 (2001)
                                   2    (quoting Phillips Petroleum Co. v. Shutts, 472 U.S. 797, 821-22 (1985));
                                   3    Hurtado v. Sup. Ct., 11 Cal. 3d 574, 581 (1974); Mazza v. Am. Honda Motor Co.,
                                   4    666 F.3d 581, 589 (9th Cir. 2012).          When a defendant, like Toyota, is
                                   5    headquartered in California, has its operations there, and a significant portion of
                                   6    the Class members reside in California, application of California law to a
                                   7    nationwide class is appropriate. See Bruno v. Quten Research Inst., LLC, 280
                                   8    F.R.D. 524, 538-39 (C.D. Cal. 2011) (applying California law to nationwide
                                   9    class where defendant’s headquarters were in California and 30% of sales
                                  10    occurred in California); Keilholtz v. Lennox Hearth Prods., 268 F.R.D. 330, 341
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                                  11    (N.D. Cal. 2010) (applying California to nationwide class where 19% of class
                                  12    sales were in California); Parkinson v. Hyundai Motor Am., 258 F.R.D. 580, 589
                                  13    (C.D. Cal. 2008) (certifying nationwide California-law class where defendant
                                  14    had California operations and a significant number of class members resided in
                                  15    California).
                                  16          To apply another state’s consumer protection laws, Toyota must first
                                  17    demonstrate that there are “material difference[s] between the California and
                                  18    other states’ laws on the facts of this case.” Bruno, 280 F.R.D. at 549; see also
                                  19    Pokorny v. Quixtar, Inc., 601 F.3d 987, 995 (9th Cir. 2010); Washington Mut.,
                                  20    24 Cal. 4th at 919. Even if the elements for the particular causes of action differ,
                                  21    it may not present a material conflict because the differing elements may not be
                                  22    at issue in the litigation. Pokorny, 601 F.3d at 995; Keilholtz, 268 F.R.D. at 341.
                                  23    Indeed, courts have found there are no material differences among states’
                                  24    consumer protection laws. Hanlon v. Chrysler Corp., 150 F.3d 1011, 1022-23
                                  25    (9th Cir. 1998) (“[T]he idiosyncratic differences between state consumer
                                  26    protection laws are not sufficiently substantive to predominate over the shared
                                  27    claims”); Keilholtz, 268 F.R.D. at 341 (finding that defendants did not meet their
                                  28    burden of demonstrating material differences in states’ consumer protection laws

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                                   1    where they showed differences involving reliance, scienter, damages, and other
                                   2    elements).
                                   3          Although Toyota attempts to point out differences in the states’ laws by
                                   4    pointing to the opinions of other courts under the facts in those cases, Toyota
                                   5    fails to show how those differences are material to this case. A mere citation to
                                   6    another court’s analysis is not sufficient to meet Toyota’s burden. Bruno, 280
                                   7    F.R.D. at 549; In re POM Wonderful LLC Mktg. & Sales Practices Litig., No.
                                   8    ML 10-02199, 2012 U.S. Dist. LEXIS 141150, *13 (C.D. Cal. Sept. 28, 2012).
                                   9          The fact that the unlawful prong of the UCL creates a cause of action by
                                  10    borrowing violations of other laws does not create a material conflict with the
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                                  11    consumer protection statutes of other states it simply makes it a unique cause of
                                  12    action to provide relief to consumers. See Mot. at 7. Additionally, reliance is not
                                  13    at issue because to the extent it is even required under the UCL and CLRA, it is
                                  14    presumed since Toyota’s omissions are material. See In re Tobacco II Cases, 46
                                  15    Cal. 4th 298, 330 (2009) (reliance only required under fraudulent prong); Cal.
                                  16    Civ. Code § 1780(a) (reliance not an element of the CLRA). This is unlike
                                  17    Mazza, 666 F.3d at 591, relied on by Toyota (Mot. at 7), where plaintiffs’ claims
                                  18    were premised on advertising messages. Here, Plaintiffs’ claims are based on
                                  19    Toyota’s sale of vehicles that contain a safety defect, not on advertising
                                  20    messages.     Similarly, as demonstrated below, the statute of limitations and
                                  21    whether a claim can be brought against a remote manufacturer are not at issue.
                                  22    See infra §IV.A.2.
                                  23          If Toyota can meet its burden of showing a material difference in the laws
                                  24    exists under the facts of this case such that there is a conflict (which it has not
                                  25    done), Toyota must then demonstrate that the other states have an interest in
                                  26    applying their laws to the case. Washington Mut., 24 Cal. 4th at 920. “Despite
                                  27    materially different laws, ‘there is still no problem in choosing the applicable
                                  28

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                                   1    rule of law where only one of the states has an interest in having its law
                                   2    applied.’” Id. (quoting Hurtado, 11 Cal. 3d at 580).
                                   3          Finally, and only if Toyota satisfies the first two steps, should the Court
                                   4    determine which states’ interests “would be more impaired” under the
                                   5    governmental interest test if its laws were not applied. Washington Mut., 24 Cal.
                                   6    4th at 920; Mazza v. Am. Honda Motor Co., 666 F.3d 581, 593 (9th Cir. 2012).
                                   7    “If California law can be applied without violating the policy of the foreign state,
                                   8    there is a false conflict, and California law should be applied.” Keilholtz, 268
                                   9    F.R.D. at 341.
                                  10          Toyota relies solely on the fact that the vehicles were purchased in
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                                  11    differing states to argue that those states have a greater interest. Mot. at 8.
                                  12    However, this is not a case about misleading advertising or sales materials at the
                                  13    point of sale. Rather, this case is premised on Toyota’s manufacture and sale of
                                  14    the Tacoma Vehicles with a safety defect, Toyota’s refusal to properly inform
                                  15    purchasers of the defect, and Toyota’s refusal to adequately remedy that defect.
                                  16          As this conduct occurred in California, California has a greater interest in
                                  17    applying its consumer protection laws to Toyota.            In addition to being
                                  18    headquartered here, all conduct relevant to this case (other than some sales)
                                  19    occurred in California, such as Toyota’s development of sales materials,
                                  20    Toyota’s decision to not inform consumers of the rust defect, Toyota’s issuance
                                  21    of the LSC, Toyota’s development of standards for determining whether there is
                                  22    “significant rust perforation,” and whether to reimburse consumers for previous
                                  23    repairs. See Dkt. 17-2 at Exhibit 2 (referring consumers to defendant’s Toyota
                                  24    Customer Experience in Torrance, California). As the California Supreme Court
                                  25    has recognized, states have an interest “in regulating conduct that occurs within
                                  26    its borders” and applying its laws to corporations operating within its borders.
                                  27    McCann v. Foster Wheeler, 48 Cal. 4th 68, 98 (2010). California law applies to
                                  28    Toyota and Toyota fails to meet its burden of proving otherwise.

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                                   1                 2.     Plaintiffs’  Alternative    Non-California           Consumer
                                                            Protection Claims Are Sufficiently Pled
                                   2
                                   3          Although Toyota has not met its burden of demonstrating that another
                                   4    state’s consumer protection laws apply, Plaintiffs address Toyota’s argument
                                   5    with regard to those alternative claims.
                                   6                        a.    Plaintiffs Adequately Allege the Non-California
                                                                  Consumer Protection Claims
                                   7
                                   8          Toyota first argues that Plaintiffs’ alternative state consumer protection
                                   9    claims are inadequately pled because Plaintiffs do not allege facts to support
                                  10    these claims. All that is required is that Plaintiffs allege enough facts to put
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                                  11    Toyota on notice of the claim so that it may defend itself. See Fed. R. Civ. P.
                                  12    8(a); Bell Atlantic Corp. v. Twombly, 550 U.S. at 555 (the purpose of Rule
                                  13    8(a)(2) is to “give the defendant fair notice of what the … claim is and the
                                  14    grounds upon which it rests.”).
                                  15          Plaintiffs plead all facts supporting these claims throughout the CAC and
                                  16    in the specific UCL and CLRA counts sufficiently to put Toyota on notice of the
                                  17    conduct at issue that is alleged to violate these causes of action. Nonetheless, if
                                  18    the Court is inclined to dismiss the UCL and CLRA claims under a choice-of-law
                                  19    analysis and for lack of particularity, Plaintiffs request leave to amend.
                                  20                        b.    Plaintiffs Do Not Allege Misrepresentation Claims
                                  21          Next, Toyota argues that Plaintiffs’ alternative state consumer protection
                                  22    claims should be dismissed because Plaintiffs do not allege that they relied on
                                  23    Toyota’s representation in the Owner’s Manual and even so, the statements are
                                  24    non-actionable puffery. Mot. at 10. Plaintiffs do not allege reliance on the
                                  25    Owner’s Manual because this is not a representations case.
                                  26          Rather, Plaintiffs’ claims are based on Toyota’s omissions.            Plaintiffs
                                  27    allege that they reasonably expected their Tacoma Vehicles to be protected from
                                  28    excessive rust protection and contrary to this expectation, Tacoma Vehicles are

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                                   1    lacking adequate rust protection, rendering the vehicles unstable and unsafe.
                                   2    ¶¶2, 14, 16. Rust corrosion on the frame of a Tacoma Vehicles makes them
                                   3    unstable and unsafe. ¶¶14-16. Plaintiffs allege Toyota knew of the inadequate
                                   4    rust protection leading to excessive rust corrosion but did not inform Plaintiffs
                                   5    about the latent defect. ¶19.
                                   6          Under each of the alternative state consumer protection theories cited by
                                   7    Toyota, Toyota had a duty to inform Plaintiffs of the inadequate rust protection
                                   8    on their Tacoma Vehicles and Toyota’s failure to do so constitutes a violation of
                                   9    the laws. PNR, Inc. v. Beacon Prop. Mgmt., 842 So. 2d 773, 777 (Fla. 2003)
                                  10    (“deception occurs if there is a representation, omission, or practice that is likely
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                                  11    to mislead the consumer acting reasonably in the circumstances, to the consumer
                                  12    detriment”); In re Porsche Cars N. Am., Inc. Plastic Coolant Tubes Prods. Liab.
                                  13    Litig., 880 F. Supp. 2d 801, 871 (S.D. Ohio 2012) (“Omissions are actionable
                                  14    under the OCSPA if they concern a matter that is or is likely to be material to a
                                  15    consumer’s decision to purchase the product or service involved.”); Marshall v.
                                  16    James B. Nutter & Co., 816 F. Supp. 2d 259, 264 (D. Md. 2011) (finding
                                  17    Maryland Consumer Protection Act prohibits omission of material facts);
                                  18    Oswego Laborers’ Local 214 Pension Fund v. Marine Midland Bank, N.A., 85
                                  19    N.Y.2d 20, 26 (N.Y. Ct. App. 1995) (omissions claims permitted under N.Y.
                                  20    Gen. Bus. Law § 349); River’s Edge Pharms., LLC v. Gorbec Pharm. Servs., No.
                                  21    1:10CV991, 2012 U.S. Dist. LEXIS 57969, *80-*81 (M.D. N.C. Apr. 25, 2012)
                                  22    (omissions claims permitted under N.C. Gen. Stat. § 75-1.1).
                                  23                        c.    Watson’s and Warner’s Claims Are Not Time
                                  24                              Barred

                                  25          Toyota argues that Watson’s and Warner’s alternative claims under
                                  26    Florida and Ohio consumer protection laws are time barred. Mot. at 11-12.
                                  27          However, both equitable tolling is permitted where defendant has engaged
                                  28    in concealment of the deceptive conduct. See State Farm Mut. Auto Ins. Co. v.

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                                   1    Kugler, No. 11-80051, 2011 U.S. Dist. LEXIS 107005, *43 (S.D. Fla. Sept. 21,
                                   2    2011) (tolling FDUTPA claims based on equitable tolling).             Nonetheless,
                                   3    whether equitable tolling is appropriate is a fact intensive question not
                                   4    appropriate on a motion to dismiss. See id.
                                   5          Plaintiffs allege that Toyota has been aware that Tacoma Vehicles exhibit
                                   6    excessive rust corrosion due to inadequate corrosion-resistant protection and
                                   7    knew this at the time of sale but did not informed purchasers of this safety related
                                   8    defect. ¶¶19-22, 29, 88. Plaintiffs learned of the excessive rust defect only
                                   9    recently and Toyota continued to conceal the problem by denying Plaintiffs any
                                  10    remedies. ¶¶32, 41. Accordingly, Watson’s and Warner’s alternative Florida
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                                  11    and Ohio consumer protection claims should be tolled.
                                  12                       d.     Warner Pleads an Omission Claim Under the
                                                                  OCSPA
                                  13
                                  14          As with the CLRA and UCL, “[o]missions are actionable under the
                                  15    OCSPA if they concern a matter that is or is likely to be material to a consumer’s
                                  16    decision to purchase the product or service involved.” In re Porsche Cars, 880
                                  17    F. Supp. 2d at 871.     Warner alleges that Toyota’s omissions regarding the
                                  18    excessive rust corrosion were material. ¶¶59, 67.
                                  19          Toyota cites Radford v. Daimler Chrysler Corp., 168 F. Supp. 2d 751
                                  20    (N.D. Ohio 2001), for the proposition that a manufacturer does not owe any duty
                                  21    to disclose to a consumer. See Mot. at 12. That is not what Radford says.
                                  22    Rather, the court in Radford expressly declined to decide that issue because the
                                  23    court dismissed the plaintiff’s OCSPA claim for other reasons. 168 F. Supp. 2d
                                  24    at 754 n.2 (“I do not address this issue.”). Toyota had a duty to disclose that
                                  25    Tacoma Vehicles did not have adequate rust corrosion protection that could lead
                                  26    to premature and excessive rust corrosion, making the vehicle unsafe to drive.
                                  27
                                  28

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                                   1                       e.    Franquet Pleads a Section 349 Claim
                                   2          Finally, Toyota contends that it is not liable to Franquet under New York
                                   3    section 349 because neither Toyota nor its dealers sold Franquet his Tacoma.
                                   4    Mot. at 12. However, “[t]here is no requirement of privity [under Section 349],
                                   5    and victims of indirect injuries are permitted to sue under the Act.” Vitolo v.
                                   6    Dow Corning Corp., 634 N.Y.S.2d 362, 366-67 (N.Y. Sup. Ct. 1995). New
                                   7    York Section 349 declares unlawful “[d]eceptive acts and practices in the
                                   8    conduct of any business, trade or commerce or in the furnishing of any
                                   9    service….” N.Y. Gen. Bus. Law § 349(a). “[A]ny person who has been injured
                                  10    due to a violation [of Section 349 has] the right to bring an action.” Vitolo, 634
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                                  11    N.Y.S.2d at 366. Toyota does not cite any New York law to the contrary.
                                  12    Franquet sufficiently pleads a Section 349 claim.
                                  13          B.    Breach of Implied Warranty of Merchantability
                                  14                1.     Statute of Limitations
                                  15          Toyota argues that Plaintiffs’ implied warranty claims are barred by the
                                  16    applicable four year statute of limitations because the implied warranty claims
                                  17    began accruing when Plaintiffs’ received their vehicles. Mot. at 13.
                                  18          A breach of implied warranty claim must be brought within four years of
                                  19    the date of accrual, which is ordinarily “when tender is made.” Cal. Comm.
                                  20    Code § 2725(1).5 “An exception to the accrual at tender rule applies, however,
                                  21    when a warranty ‘explicitly extends to future performance of the goods.’”
                                  22    Roberts v. Electrolux Homes Prods., No. 12-1644, 2013 U.S. Dist. LEXIS
                                  23    185488, *20 (C.D. Cal. Mar. 4, 2013) (quoting Cal. Comm. Code § 2725(2)).
                                  24    “In that case, courts apply the discovery rule, with the result that the breach of
                                  25    warranty claim ‘accrues when the breach is or should have been discovered.’”
                                  26
                                        5
                                              Although Toyota cites the laws of other states in addition to California,
                                  27    Toyota fails to meet its burden of demonstrating that another state’s laws apply
                                        because it conducts no choice of law analysis. See supra §IV.A.1. Indeed,
                                  28    Toyota’s arguments suggest that there is no conflict among the states’ implied
                                        warranty laws. California law applies.
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                                   1    Id. (quoting Cal. Comm. Code § 2725(2)). When a defendant knows of a defect
                                   2    and conceals it, the implied warranty is tolled to the date the defect is discovered.
                                   3    Id. at *25 (plaintiffs’ implied warranty claims not time barred where “defendant
                                   4    failed to disclose material facts about the dryer’s defect that were within its
                                   5    exclusive knowledge . . . .”). Tolling is intended “to disarm a defendant who, by
                                   6    his own deception, has caused a claim to become stale and a plaintiff dilatory.”
                                   7    Regents of Univ. of Cal. v. Sup. Ct., 20 Cal. 4th 509, 533 (1999).
                                   8          Here, Plaintiffs only recently became aware of the rust corrosion defect.
                                   9    ¶¶32, 34, 37, 39, 40, 44, 47. That is because, although Toyota was uniquely
                                  10    aware of the defect, Plaintiffs allege that Toyota failed to inform them and others
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                                  11    of it. ¶¶19, 83. Instead, as Plaintiffs allege, Toyota continued to conceal the
                                  12    defect. ¶¶19-22. Without notification from Toyota, Plaintiffs could only learn of
                                  13    the defect once their vehicles began to rust. Thus, Plaintiffs’ implied warranty
                                  14    claims are tolled and timely.
                                  15          Additionally, implied warranty claims are tolled during the duration of an
                                  16    express warranty. See Ehrlich v. BMW of N. Am., LLC, 801 F. Supp. 2d 908,
                                  17    924-2 (C.D. Cal. 2010) (tolling implied warranty claims for duration of four-year
                                  18    express warranty); Falco v. Nissan N. Am. Inc., No. 13-cv-0686, 2013 U.S. Dist.
                                  19    LEXIS 147060, *28 (C.D. Cal. Oct. 10, 2013) (“Following the holding in
                                  20    Ehrlich, Plaintiffs’ claims are not time barred because [defendant’s] five-year
                                  21    warranty tolled the running of the implied warranty’s statute of limitations.”).
                                  22    Plaintiff MacLeod purchased his 2009 Tacoma in 2009. Toyota’s three-year
                                  23    express warranty tolled MacLeod’s implied warranty claims until 2012 when
                                  24    they began to run. Accordingly, at the very least MacLeod’s implied warranty
                                  25    claim is timely.
                                  26
                                  27
                                  28

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                                   1                    2.   Privity Is Not Required for Implied Warranty Claims
                                   2          Toyota also argues that the implied warranty claims of Fuller, Franquet,
                                   3    Warner, and Watson fail because privity is required.6 Mot. at 15.
                                   4          Privity is not required “where the plaintiff consumer is an intended third-
                                   5    party beneficiary of the contract for sale of a good” between a manufacturer and
                                   6    a seller. In re Toyota Motor Corp. Hybrid Brake Mktg., Sales Practices &
                                   7    Prods. Liab. Litig., 890 F. Supp. 2d 1210, 1222 (C.D. Cal. 2011); see also
                                   8    Gilbert Fin. Corp. v. Steelform Contracting Co., 82 Cal. App. 3d 65, 69-70
                                   9    (1978); McBurnette v. Playground Equipment Corp., 137 So. 2d 563, 566-67
                                  10    (Fla. 1962) (recognizing exception to privity requirement for third party
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                                  11    beneficiaries); Bobb Forest Prods. v. Morbark Indus., 783 N.E.2d 560, 576 (Ct.
                                  12    App. Ohio 2002) (“A consumer may also have privity of contract with the
                                  13    manufacturer if that consumer is an intended third-party beneficiary . . . .”);
                                  14    Coastal Leasing Corp. v. O’Neal, 405 S.E.2d 208, 212 (Ct. App. N.C. 1991)
                                  15    (holding that the law implied privity where the third party is an intended
                                  16    beneficiary).
                                  17          Here, Plaintiffs were the intended beneficiaries of an implied warranty
                                  18    between Toyota and its dealers because Toyota intended for the dealers to sell
                                  19    the Tacoma Vehicles to consumers. Therefore, the implied warranty that the
                                  20    Tacoma Vehicles would be safe and operate as intended was for the consumers
                                  21    not the dealers.
                                  22          Additionally, there is also an exception to privity for “dangerous
                                  23    instrumentalities” or products that although not ordinarily dangerous are
                                  24    designed in a way that would make them unknowingly dangerous. See Alvarez v.
                                  25    Felker Mfg. Co., 230 Cal. App. 2d 987, 997 (1964) (“[W]here the instrumentality
                                  26    is dangerous [because] it contains latent defects . . . the implied warranties of
                                  27
                                  28    6
                                            Toyota does not make these arguments with regard to Meade and
                                        MacLeod.
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                                   1    fitness and merchantability run from the manufacturer to the consumer even
                                   2    though the latter is not in contractual privity with the former.”); Matthews v.
                                   3    Lawnlite Co., 88 So. 2d 299, 301 (Fla. 1956) (privity not required where chair
                                   4    was designed in a dangerous manner); Hubbard v. Gen. Motors Corp., No. 95
                                   5    Civ. 4362, 1996 U.S. Dist. LEXIS 6974, *16-*17 (S.D.N.Y. May 22, 1996)
                                   6    (exception exists for “thing of danger,” which includes vehicles with defective
                                   7    braking system).
                                   8          Here, the Tacoma Vehicles were dangerous because they contained a
                                   9    latent defect in the excessive rust corrosion that made the Tacoma Vehicles
                                  10    unsafe for their intended purpose, driving. ¶¶78-80. Accordingly, the implied
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                                  11    warranties ran from Toyota as the manufacturer to Plaintiffs as the consumers.
                                  12          C.     Breach of Express Warranty
                                  13                 1.    Statutes of Limitations
                                  14          When Plaintiffs purchased their Tacoma Vehicles, they received basic
                                  15    general warranties covering defects in material and workmanship for 3 years or
                                  16    36,000 miles, whichever came first. Although the breach of warranty claims
                                  17    were filed outside the four (or five) year statute of limitations, Toyota’s warranty
                                  18    by its terms extended to future performance. The applicable general warranty
                                  19    provisions provide “[t]he performance of necessary repairs and adjustments is the
                                  20    exclusive remedy under these warranties or any implied warranties.” Dkt. 17-2,
                                  21    Exhibit 5 at 71. This warranty “covers repairs and adjustments needed to correct
                                  22    defects in materials or workmanship or any part supplied by Toyota . . . .” Id.at
                                  23    72. Accordingly, by its terms, the warranty extends to future performance. See
                                  24    Mills v. Forestex Co., 108 Cal. App. 4th 625, 642 (2003) (“A cause of action for
                                  25    breach of warranty of future performance, such as [defendant]’s 25-year
                                  26    warranty on the siding, accrues upon discovery of the breach.”); see also Ehrlich,
                                  27
                                  28

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                                   1    801 F. Supp. 2d at 924-25 (a 4-year/50,000 mile express warranty extends to
                                   2    future performance of goods).7 Plaintiffs’ express warranty claims are timely.
                                   3                   2.    Presentment of Plaintiffs’ Vehicles Was Not Required
                                   4             Toyota contends that because Plaintiffs did not discover the latent rust
                                   5    defect that was known to Toyota until after the express warranty expired, they
                                   6    did not present their vehicles to Toyota within the warranty period. Mot. at 17.
                                   7    Toyota is wrong for two reasons.
                                   8             First, the express warranty between Plaintiffs and Toyota did not require
                                   9    Plaintiffs to present their Tacoma Vehicles for service as a precondition of
                                  10    receiving the benefits of the warranty.      The only language in the warranty
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                                  11    regarding presentment simply stated: “You are responsible for presenting your
                                  12    vehicle to a Toyota dealership as soon as a problem exists.” See Dkt. 17-2,
                                  13    Exhibit 6 at 21. Plaintiffs complied with this provision, as they were not aware
                                  14    that the frame on their Tacoma Vehicles lacked adequate rust corrosion protection
                                  15    until recently, and contacted Toyota immediately. Second, the quoted language
                                  16    does not expressly require that an individual present their defective car within the
                                  17    warranty period. See Werwinski v. Ford Motor Co., No. 00-943, 2000 U.S. Dist.
                                  18    LEXIS 11977, at *5 (E.D. Pa. Aug. 15, 2000). Toyota’s presentment argument
                                  19    fails.
                                  20                   3.    Plaintiffs Plead Breach of Express Warranty Based on
                                  21                         Toyota’s Statements in the Owner’s Manual

                                  22             Toyota argues that Plaintiffs’ express warranty claims based on Toyota’s
                                  23    promise in the Owner’s Manual fail because Plaintiffs do not allege that they
                                  24    relied on those statements in making their purchase and the statements are mere
                                  25    puffery. Mot. at 18-20. Toyota is wrong on both points.
                                  26
                                  27
                                        7
                                             Like with the implied warranty claims, Toyota does not meet its burden of
                                  28    demonstrating that another state’s express warranty laws apply because it
                                        conducts no choice of law analysis. See supra §IV.A.1.
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                                   1             Any affirmations by a seller whether or not relied on by the plaintiffs
                                   2    become a part of their agreement. Weinstat v. Denstply Int’l, Inc., 180 Cal. App.
                                   3    4th 1213, 1228-30 (2010). In Weinstat, the court rejected the same argument
                                   4    Toyota makes here that statements in a directions booklet sealed to the product
                                   5    when delivered could not form the “basis of the bargain” without reliance on the
                                   6    statements. Id. at 1228. The Weinstat court found that “breach of express
                                   7    warranty arises in the context of contract formation in which reliance plays no
                                   8    role.”    Id. at 1227.    The court explained, “‘[t]o accept the manufacturer’s
                                   9    argument that in order to be part of the basis of the bargain the warranty must
                                  10    actually be handed over during the negotiation process so as to be said to be an
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                                  11    actual procuring cause of the contract, is to ignore the practical realities of
                                  12    consumer transactions where in the warranty card generally comes with the
                                  13    goods . . . .’” Id. at 1230 (quoting Murphy v. Mallard Coach Co., 582 N.Y.2d
                                  14    528, 531 (1992)).
                                  15             Similarly here, Plaintiffs received the Owner’s Manual with the purchase
                                  16    of their Toyota Vehicles. The statements made by Toyota in that Owner’s
                                  17    Manual formed the basis of the parties’ bargain and properly support Plaintiffs’
                                  18    breach of express warranty claims.
                                  19             Additionally, Toyota’s statement in the Owner’s Manual is not puffery.
                                  20    “Puffing is exaggerated advertising, blustering, and boasting upon which no
                                  21    reasonable buyer would rely . . . .” Southland Sod Farms v. Stover Seed Co., 108
                                  22    F.3d 1134, 1145 (9th Cir 1997). “While product superiority claims that are
                                  23    vague     or    highly   subjective   often   amount   to   nonactionable   puffery,
                                  24    misdescriptions of specific or absolute characteristics of a product are
                                  25    actionable.” Id. Additionally, “[t]he context of the [representation] is vitally
                                  26    important . . . .” Hill v. Roll Int’l Corp., 195 Cal. App. 4th 1295, 1304 (2011);
                                  27    see also Williams v. Gerber, 552 F.3d 934, 939 (9th Cir. 2008).
                                  28

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                                   1          Toyota makes concrete statements regarding the fact that is provides rust
                                   2    protection. It states, “Toyota, through its diligent research, design and use of the
                                   3    most advanced technology available, helps prevent corrosion and provides you
                                   4    with the finest quality vehicle construction.” ¶26. Although when taken in
                                   5    isolation, Toyota’s statements such as “most advanced” and “finest” may be
                                   6    puffery, when read together in the context of the message as a whole, Toyota’s
                                   7    message conveys that it has supplied at least reasonable rust protection on the
                                   8    Tacoma Vehicles. That is an affirmation of fact sufficient to convey an express
                                   9    warranty.
                                  10          D.     Magnuson-Moss Claim
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                                  11          Since Plaintiffs have stated statutory warranty claims, Toyota’s argument
                                  12    that Plaintiffs did not state a claim under the Magnuson-Moss Act fails. See
                                  13    Daugherty v. American Honda Motor Co., Inc., 144 Cal. App. 4th 824, 832-33
                                  14    (2006) (Magnuson-Moss provide a federal cause of action for state warranty
                                  15    claims).
                                  16          Toyota also contends that MacLeod cannot state a Magnuson-Moss claim
                                  17    because he did not participate in an informal dispute resolution procedure. Mot.
                                  18    at 20. But not every plaintiff must engage in informal dispute resolution to bring
                                  19    this claim. Magnuson-Moss encourages information dispute resolution to have
                                  20    disputes “fairly and expeditiously settled.” 15 U.S.C. § 2310(a). However,
                                  21    courts have found that where informal dispute resolution would be futile, it is not
                                  22    required. For example, in Milicevic v. Mercedes-Benz USA, LLC, 256 F. Supp.
                                  23    2d 1168, 1179 (D. Nev. 2003), the court found that “[p]laintiff was not obligated
                                  24    to follow the informal dispute resolution procedures found in Mercedes-Benz’
                                  25    written warranty, because it would have been futile to do so . . . .” Aff’d, 402
                                  26    F.3d 912 (9th Cir. 2005).
                                  27          As demonstrated from Watson’s, Meade’s, Warner’s, Franquet’s, and
                                  28    Fuller’s experiences, participating in dispute resolution with Toyota would be

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                                   1    futile. See ¶93. Toyota has consistently refused to remedy the rust corrosion
                                   2    defect in Plaintiffs’ Tacoma Vehicles. ¶¶32, 37, 41, 44, 48.        Accordingly,
                                   3    MacLeod states a claim under the Magnuson-Moss Act.
                                   4          E.       Plaintiffs Plead a Declaratory Relief Claim
                                   5          Toyota argues that Plaintiffs’ declaratory relief claim is duplicative of
                                   6    Plaintiffs’ other claims and the requested relief was provided under Toyota’s
                                   7    LSC. Mot. at 21. Toyota is wrong on both points.
                                   8          It is well-settled that a request for declaratory relief may be considered
                                   9    independently of whether other forms of relief are appropriate.        28 U.S.C.
                                  10    § 2201(a). Dismissal of a declaratory relief claim is only appropriate where it is
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                                  11    apparent from the complaint that the claim is “unnecessary” because the relief is
                                  12    sought through other claims. See Marilley v. McCamman, No. C-11-02418, 2011
                                  13    U.S. Dist. LEXIS 129294, *25-*26 (N.D. Cal. Nov. 8, 2011) (declining to
                                  14    dismiss claim where factual issues remained). Plaintiffs’ declaratory relief claim
                                  15    under 28 U.S.C. § 2201 seeks relief distinct from their other claims because they
                                  16    independently seek a declaration that the Tacoma Vehicles are defective because
                                  17    they lack adequate rust protection. ¶109.
                                  18          Additionally, Plaintiffs are free to pursue alternative forms of relief
                                  19    through alternative claims. McCalden v. Cal. Library Ass’n, 955 F.2d 1214,
                                  20    1219 (9th Cir. 1990); E.H. Boly & Son, Inc. v. Schneider, 525 F.2d 20, 23 n.3 (9th
                                  21    Cir. 1975).
                                  22          Finally, it is in dispute whether Toyota’s LSCs provided sufficient relief
                                  23    (Plaintiffs allege that they do not) and the LSCs do not provide the relief
                                  24    requested through Plaintiffs’ declaratory relief claim. For example, Plaintiffs
                                  25    request it be declared that “model years 2005-2009 Toyota Tacoma vehicles lack
                                  26    adequate rust corrosion protection and are defective . . . .” ¶109. Neither of the
                                  27    LSCs make this admission. Both LSCs simply states that “certain 2005 through
                                  28    2008 model year Tacoma vehicles operated in specific cold climate areas with

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                                   1    high road salt may exhibit more-than-normal corrosion to the vehicle’s frame.”
                                   2    Dkt. 17-2, Exhibit 1 at 1, Exhibit 2 at 1. It remains a contested issue whether the
                                   3    Tacoma Vehicles are defective because they lack adequate rust corrosion
                                   4    protection.
                                   5    V.     CONCLUSION
                                   6           For the foregoing reasons, Toyota’s Motion to Dismiss should be denied in
                                   7    its entirety.
                                   8    Dated: May 21, 2015                     BLOOD HURST & O’REARDON, LLP
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                                   9                                            PAULA M. ROACH (254142)
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                                   1                            CERTIFICATE OF SERVICE
                                   2          I hereby certify that on May 21, 2015, I electronically filed the foregoing
                                   3    with the Clerk of the Court using the CM/ECF system which will send
                                   4    notification of such filing to the e-mail addresses denoted on the Electronic Mail
                                   5    Notice List, and I hereby certify that I have mailed the foregoing document or
                                   6    paper via the United States Postal Service to the non-CM/ECF participants
                                   7    indicated on the Electronic Mail Notice List.
                                   8          I certify under penalty of perjury under the laws of the United States of
                                   9    America that the foregoing is true and correct. Executed on May 21, 2015.
                                  10
                                                                                         s/ Timothy G. Blood
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